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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PISTOTNIK

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PISTOTNIK2019 OK 74Case Number: SCBD-6859Decided: 11/18/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 74, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
BRADLEY ALAN PISTOTNIK, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Indictment, Information, Plea Agreement, and Judgment in a Criminal Case, in the matter of United States of America v. Bradley A. Pistotnik, Case No. 18-CR-10099-01-EFM, in the United States District Court for the District of Kansas. On October 15, 2019, Bradley A. Pistotnik pled guilty to the Information charging three violations of 18 U.S.C. § 3, Accessory After the Fact in relation to 18 U.S.C. § 875(d) (communication of an extortionate threat in interstate commerce), Class A misdemeanors. On October 16, 2019, the Court sentenced Bradley A. Pistotnik to a fine of $375,000 ($125,000 per violation); $55,200 in restitution; and a $300 assessment, payable in a lump sum payment of $430,500 due immediately.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Bradley A. Pistotnik is immediately suspended from the practice of law. Bradley A. Pistotnik is directed to show cause, if any, no later than December 4, 2019, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until December 18, 2019, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Bradley A. Pistotnik has until January 3, 2020, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until January 20, 2020, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on November 18, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs and Kane, JJ., concur.







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